         3:19-cv-03010-SEM-TSH # 10        Page 1 of 2                                          E-FILED
                                                      Monday, 18 March, 2019 02:49:59 PM
                                                            Clerk, U.S. District Court, ILCD
                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

LARRY PIPPION, as Representative of
                                 )
the Estate of Larry Earvin,      )
                                 )
            Plaintiff,           )
                                 )
      -vs-                       )                No. 19-3010-SEM
                                 )
SGT. WILLIE HEDDEN, LT. BENJAMIN )
BURNETT, LT. BLAKE HAUBRICH,     )
C/O ALEX BANTA, WARDEN           )
CAMERON WATSON, ASST. WARDEN )
STEVE SNYDER, Individually,      )
                                 )
            Defendants.          )


                                NOTICE OF APPEARANCE

         Now Comes Kwame Raoul, Attorney General of the State of Illinois, by Christopher L.

Higgerson, Assistant Attorney General, State of Illinois, and hereby enters his appearance as

counsel on behalf of the Defendants, CAMERON WATSON and STEVE SNYDER, in the above

cause.


                                                  Respectfully submitted,

                                                  CAMERON WATSON
                                                   and STEVE SNYDER,

                                                         Defendants,
Christopher L. Higgerson, #6256085
Assistant Attorney General                        KWAME RAOUL, Attorney General,
500 South Second Street                           State of Illinois,
Springfield, Illinois 62701
Telephone: (217) 782-1841                                Attorney for Defendants,
Facsimile: (217) 782-8767
E-Mail: chiggerson@atg.state.il.us                By: s/ Christopher L. Higgerson
                                                      Christopher L. Higgerson
  Of Counsel.                                         Assistant Attorney General


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                                         No. 19-3010
                                     Certificate of Service

       I hereby certify that on March 18, 2019, I caused to be electronically filed a Notice of

Appearance, with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the following:

               Michael Oppenheimer     michael@eolawus.com



                                     Respectfully submitted,



                                       s/ Christopher L. Higgerson
                                     Christopher L. Higgerson
                                     Assistant Attorney General
                                     500 South Second Street
                                     Springfield, IL 62701
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